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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


LUCILLE S. TAYLOR,

         Plaintiff,                          Case No. 1:19−cv−670

   v.                                        Hon. Robert J. Jonker

STATE BAR OF MICHIGAN, et al.,

         Defendants.
                                      /

                 NOTICE REGARDING ASSIGNMENT OF CASE
       NOTICE is hereby given that the above−captioned case was filed in
this court on August 22, 2019 . The case has been assigned to Robert J.
Jonker .



                                          CLERK OF COURT

Dated: August 23, 2019          By:        /s/ N. Stimec
                                          Deputy Clerk
